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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    AMYRIS, INC., et al.,                                       Case No. 23-11131 (TMH)

                                      Debtors.1                 (Jointly Administered)


      DEBTORS’ (1) FURTHER OPPOSITION TO LAVVAN, INC.’S REQUEST FOR
    IMPOSITION OF AN ADVERSE INFERENCE AND (2) OPPOSITION TO LAVVAN,
      INC.’S CROSS-MOTION TO EXCLUDE TESTIMONY OF OKSANA WRIGHT

             The above-captioned debtors and debtors-in-possession (the “Debtors”) hereby submit

their (1) further opposition to the request of Lavvan Inc. (“Lavvan”) for the imposition of an

adverse inference (the “Adverse Inference Request”) and (2) opposition to Lavvan’s Cross-Motion

to Exclude Testimony of Oksana Wright (the “Cross Motion”)2 [Docket No. 427] (this

“Opposition”), and, in support thereof, respectfully state as follows:

                                      PRELIMINARY STATEMENT

             1.    Pursuant to this Court’s Scheduling Order, entered on September 19, 2023, the

parties were required to exchange documents relating to the October 4, 2023 continued Final DIP

Hearing on or before September 22, 2023. The Debtors made their document production on that

date in accordance with the Scheduling Order. On September 29, 2023, in the Lavvan Opening

Brief (defined below), Lavvan, for the first time, requested that this Court make an adverse

inference because of the Debtors’ purported failure to produce documents. Lavvan never sought

to meet and confer on this issue, never sought the Court’s intervention via letter or request for a


1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Cross-Motion.



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conference, never made a motion, and never complied with this Court’s Local Rules regarding

discovery motions.3

        2.       Confronted with this eleventh hour, procedurally deficient request, and in order to

rebut the Adverse Inference Request, the Debtors included Oksana Wright, Amyris Inc.’s Chief

Compliance Officer, as a rebuttal witness on their Witness and Exhibit List filed on October 2,

2023. Lavvan now seeks to exclude Ms. Wright’s rebuttal testimony.

        3.       This Court should not entertain Lavvan’s Adverse Inference Request because it is

procedurally and legally improper. If, as it should, it determines not to consider the request, there

will be no need for Ms. Wright’s testimony as such testimony will only be elicited in order to rebut

Lavvan’s Adverse Inference Request. If the Court determines to consider the Adverse Inference

Request, Ms. Wright’s testimony should be permitted in order to establish the Debtors’ good faith

and diligence in connection with its document search and document production. As discussed in

greater detail below, even if the Court considers Lavvan’s request, in light of the Debtors’ good

faith, there is no basis for an adverse inference.

                                        PROCEDURAL HISTORY

        4.       The Court entered its Scheduling Order at approximately 2:00 p.m. on September

19, 2023. Among other things, the Scheduling Order required that witnesses be disclosed on

September 21, 2023, and that documents be exchanged by September 22, 2023. The Scheduling

Order also set a briefing schedule with simultaneous opening briefs due on September 29, 2023,

witness and exhibit lists due on October 2, 2023, and responsive briefs due at noon EST on October

3, 2023.




3
    Indeed at the September 15, 2023 Hearing, this Court stated explicitly: “If I need to resolve discovery disputes, I
    will do that.” Sept 15 Tr. at 30:11-12.



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             5.       At 11:54 PM EST on September 19, 2023, Lavvan requested, inter alia, that the

Debtors and the Foris Lenders produce a very broad category of communications related to the

Foris LSA (the “Discovery Request”).4 To put it in perspective, Lavvan requested that the Debtors

(and the Foris Lenders) produce practically every communication pertaining to the Foris LSA by

no later than the September 22, 2023 deadline for the exchange of documents under the Scheduling

Order.

             6.       Just one day later, on September 20, 2023, the Debtors wrote to Lavvan objecting

to the broad and burdensome scope of the Discovery Request and stating that the Discovery

Request fell outside of this Court’s directive at the September 15, 2023, status conference (the

“September 15 Status Conference”) regarding the appropriate scope of discovery in connection


4
    Lavvan’s Discovery Request demanded the production of the following records:
        i.        The Foris LSA transaction documents, including all purported amendments or modifications
                  thereto; (ii) Debtors’/Foris’s documents and communications concerning the status of the Foris
                  LSA.
       ii.        Debtors’/Foris’s documents and communications concerning the flow of funds or other assets
                  between Debtors and Foris (or any other entity owned or controlled by John Doerr).
      iii.        Debtors’/Foris’s documents and communications concerning the extinguishment, or potential
                  extinguishment, of debt related to the Foris LSA.
      iv.         Debtors’/Foris’s documents and communications concerning the analysis of whether any of
                  Debtors’ transactions with Foris (including certain equity transactions with Foris on or about
                  January 31, 2020) resulted in “a modification or extinguishment of the Foris LSA,” as described
                  in Amyris’s Form 10-K for the fiscal year ended December 31, 2020.
       v.         Debtors’/Foris’s documents and communications concerning “the accelerated paydown of the
                  Foris LSA loan balance,” as described in Amyris’s Form 10-K for the fiscal year ended
                  December 31, 2020.
      vi.         Debtors’/Foris’s documents and communications concerning Amyris’s accounting for the
                  “accelerated paydown” of the Foris LSA loan balance as “a debt extinguishment and new debt
                  issuance,” as described in Amyris’s Form 10-K for the fiscal year ended December 31, 2020,
                  including the accountant’s conclusions, any related reports or memoranda, and communications
                  leading it to undertake such analysis.
     vii.         Any of Debtors’/Foris’s books and records in which Debtors/Foris recorded or identified the
                  Foris LSA debt as extinguished.
     viii.        Debtors’/Foris’s documents and communications concerning the application of the
                  Subordination Agreement in the event that Foris purported to subordinate its rights to those of
                  a third party or related party.
      ix.         Debtors’/Foris’s documents and communications concerning adequate protection for Lavvan.
       x.         All documents reviewed by Steven Fleming in connection with his September 2023 Declaration
                  and Amended Declaration in support of Debtors’ motion.


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with the resolution of the DIP Motion.5 In an email dated September 21, 2023, counsel for Lavvan

responded by stating that Lavvan “expects Debtors and Foris to comply with these discovery

requests and reserves all rights to the extent they fail to do so.” In accordance with the Scheduling

Order, the Debtors produced their documents on September 22, 2023. Thereafter, Lavvan neither

sought to meet and confer nor moved to compel the requested discovery; nor did they write to the

Court regarding the purported document discovery dispute.

        7.       The Debtors disclosed their anticipated witnesses on September 21, 2023.6

        8.       Late on October 29, 2023, Lavvan filed its Opening Brief of Lavvan, Inc. in

Opposition to Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to

Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate

Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a

Final Hearing, and (V) Granting Related Relief [Docket No. 402] (the “Lavvan Opening Brief”).

        9.       In the Lavvan Opening Brief, for the first time, without ever (1) having made a

motion to compel; (2) written to this Court regarding any discovery dispute; or (3) certified, as

required by the rules of this Court, that it had made a reasonable effort to reach agreement with

the Debtors, Lavvan argued that this Court should make an adverse inference as to whether the

Loan and Security Agreement, dated as June 29, 2018, as amended from time to time, remained in



5
    Specifically, this Court expressly stated that the issues should be “cabin[ed]” and that the parties had to work to
    “get to finality.” See Hr’g Tr., dated September 15, 2023 (the “Sept. 15 Tr.”) at 19:21-25. Further, the Court
    expressly acknowledged the “limited time and space” for discovery, and the need for the parties to “work
    realistically within the time that we have.” Id. at 20:14-21. With regard to discovery in particular, the Court
    cautioned that the parties could not engage in a “free w[heel]ing inquiry into everything that Foris is alleged to
    have done or could be alleged to have done,” because such an inquiry would amount to a “fishing expedition.”
    Id. at 30:2-18. The Court “trust[ed] that the parties are going to appropriately limit discovery to get the issues
    that we’ve identified.” Id. at 30:13-15.
6
    The Debtors initially identified Elizabeth Dreyer, the Debtors’ Chief Accounting Officer, and Theodore Martens
    (their expert) as witnesses. On September 25, 2023, before Lavvan even contacted the Debtors to request a
    deposition of either witness, the Debtors notified the parties that Han Kieftenbeld, the Debtors Chief Financial
    Officer and Interim Chief Executive Officer, would testify as their fact witness instead of Ms. Dreyer.



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effect, based upon purported failure of the Debtors and Foris Lenders to produce documents.

Lavvan Opening Brief at pages 33-34.

        10.      In accordance with the Scheduling Order, the Debtors filed their witness and exhibit

lists on October 2, 2023. [Docket No. 408]. As a result of Lavvan’s eleventh hour, procedurally

defective request for an adverse inference, the Debtors identified Ms. Wright, Amyris Inc.’s Vice

President of Compliance and Litigation, as a rebuttal witness in order to establish, that as discussed

in greater detail below and in the joint reply of the Debtors and the Foris Lenders to the Lavvan

Opening Brief (the “Joint Reply Brief”) [Docket No. 433], the documents produced by the Debtors

are proportional to the matters at issue in this contested matter and consistent with this Court’s

comments at the September 15 Status Conference, that the Debtors acted in good faith in producing

them, and that, accordingly, an adverse inference is not warranted.

                                           ARGUMENT

        A. This Court Should Not Entertain a Motion For or Make an Adverse Inference

        11.      Ms. Wright is being proffered as a witness by the Debtors only to rebut Lavvan’s

contention that this Court should make an adverse inference in connection with the Debtors’

determination that they would not produce “communications” sought in the Discovery Request.

Thus, the necessity of Ms. Wright’s rebuttal testimony is inextricably tied to the question of

whether this Court determines to consider the Adverse Inference Request, an extreme sanction.

The Debtors submit that the Court should neither consider nor grant the Adverse Inference Request

because it is both procedurally and substantively deficient. If this Court determines, as it should,

not to entertain the Adverse Inference Request, then there will be no need for Ms. Wright to testify.

        12.      This Court should not consider the Adverse Inference Request because it is

procedurally deficient. Requests for remedies for alleged deficiencies in discovery, like Lavvan




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asserts here, must be made by motion, and no motion was filed by Lavvan. And, as is the case for

all discovery motions, prior to being filed, the movant must meet and confer with opposing counsel

and generally must write to a court to seek intervention prior to filing a motion to compel. Lavvan

did not do this.

        13.      Further, Rule 7026-1(d) of the Local Rules for the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”) provides that any discovery motion “shall be

accompanied by an averment of Delaware Counsel for the moving party that a reasonable effort

has been made to reach agreement with the opposing party on the matters set forth in the motion

or the basis for the moving party not making such an effort. Unless otherwise ordered, failure to

so aver may result in dismissal of the motion.” Local Rule 7026-1(d). No such averment has been

made here, and none could be made, because no effort to reach agreement occurred.

        14.      Lavvan’s request for preclusion is therefore procedurally defective on its face and

should not be considered.

        B. Ms. Wright’s Testimony Should not be Excluded

        15.      Should this Court determine to entertain the Adverse Inference Request, Ms.

Wright’s rebuttal testimony should be permitted in order to establish the Debtors’ good faith in

responding to the Discovery Request.

        16.      Ms. Wright will testify as to the Debtors’ efforts to provide proportional discovery

of responsive documents during the very narrow three day window for document discovery. She

will also testify concerning the Debtors diligence in preparing and running search terms across the

emails of relevant custodians to determine if production of “communications” was proportional

under the circumstances, which searches generated approximately 100,000 hits. This testimony is

critical to the Debtors’ opposition to the Adverse Inference Request.




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        C. This Court Should Not Grant Adverse Inference Request

        17.      As set forth in the Joint Reply Brief, no adverse inference should be made here

because the Debtors acted in good faith in connection with their discovery response.

        18.      In the Third Circuit, the non-production of documents properly requested under the

federal rules may constitute spoliation and can be treated in the same manner as the destruction of

relevant information as “a party’s failure to produce a document can have the same practical effect

as destroying it.” Bull v. United Parcel Serv., Inc., 665 F.3d 68, 73 (3d Cir. 2012). However, there

can be no spoliation finding where the non-producing party did not act in “bad faith.” Id. at 79.

“This only makes sense, since spoliation of documents that are merely withheld, but not destroyed,

requires evidence that the documents are actually withheld, rather than—for instance—

misplaced.” Id. However, “[n]o unfavorable inference arises when the circumstances indicate that

the document or article in question has been lost or accidentally destroyed, or where the failure to

produce it is otherwise properly accounted for.” Brewer v. Quaker State Oil Ref. Corp., 72 F.3d

326, 334 (3d Cir. 1995).

        19.      The Debtors’ objections cannot equate to bad faith.       The Debtors promptly

responded to the Discovery Request and identified legitimate reasons for why they believed the

Discovery Request fell outside the scope of this Court’s directive. “A party is substantially

justified in failing to produce required discovery when a reasonable person could conclude that

parties could differ as to whether disclosure was required.” In re Atomica Design Group, Inc., 591

B.R. 217, 233 (Bankr. E.D. Pa. 2018) (citing LightStyles, Ltd. ex rel. Haller v. Marvin Lumber &

Cedar Co., No. 1:13-CV-1510, 2015 WL 4078826 at *2 (M.D. Pa. July 6, 2015)); see also Johnson

v. Fed. Express Corp., No. 1:12-CV-444, 2014 WL 65761, at *1 (M.D. Pa. Jan. 8, 2014)

(“Substantial justification for the failure to make a required disclosure means justification to a




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degree that could satisfy a reasonable person that parties could differ as to whether the party was

required to comply with the disclosure request.”) (internal citations and quotations omitted).

         20.     Moreover, the cases cited by Lavvan to support its request for an adverse inference

are factually distinguishable and do not support an adverse inference against the Debtors. In Stone

& Webster, Inc., the court drew an adverse inference against a party that refused to comply with a

discovery order that specifically ordered a party to produce certain documents. 547 B.R. 588, 610-

611 (Bankr. D. Del. 2016). In Communication Dynamics, Inc., the subpoena recipient claimed to

have lost a document at issue in the case and made no attempt to obtain an additional copy of the

report to be provided. 300 B.R. 220, 224 (Bankr. D. Del. 2003). The Court found this account to

be noncredible and authorized an adverse inference from the nonproduction. Id. In SuperMedia

LLC, the court expressly refused to award adverse inferences as the requesting party “failed to

convince the Court that SuperMedia’s conduct amounted to fraud or an intentional action” as there

was no evidence of bad faith in the non-production nor was there any evidence of a duty to have

preserved the missing documents. No. 13-10546 (KG), 2016 WL 1367070, at *8 (Bankr. D. Del.

Apr. 4, 2016). Additionally, in SuperMedia, Judge Gross refused to award the adverse inference

after having otherwise sanctioned SuperMedia for failing to initially produce documents subject

to the adverse inference request. Id. Here, there was no discovery order, and there was no bad

faith.

         21.     Accordingly, for the reasons set forth herein and in the Joint Reply Brief, this Court

should not make an adverse inference against the Debtors.




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                                          CONCLUSION

        22.      For the reasons set forth above, the Debtors request that the Court deny the Adverse

Inference Request, and to the extent it determines to entertain the Adverse Inference Request, deny

the Cross Motion.

 Dated: October 4, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

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